  Case 19-02618        Doc 39    Filed 07/01/20 Entered 07/01/20 17:07:47            Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In Re:
                                                       Case No. 1:19-bk-02618

 LUIS PERALES and CYNTHA
                                                       Chapter 13
 PERALES

                                                       Honorable Timothy A. Barnes
                                  Debtor(s)

                                     NOTICE OF MOTION

To: service list affixed

       PLEASE TAKE NOTICE that on August 6, 2020, at 1:00 PM, I will appear before the
Honorable Timothy A. Barnes, or any Judge sitting in that Judge’s place, and present DEBTORS'
MOTION TO AUTHORIZE RELEASE OF INSURANCE PROCEEDS, a copy of which is
attached.

        This Motion will be presented and heard telephonically. No personal appearance in
court is necessary or permitted. To appear and be heard telephonically on this Motion, you must
set up and use an account with Court Solutions, LLC. You can set up an account at
www.courtsolutions.com or by calling Court Solutions, LLC at (917) 746-7476.

        If you disagree with this Motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the Motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the relief sought herein in advance without hearing.

                                                     LUIS PERALES and CYNTHA
                                                     PERALES

                                                     By: /s/ Joseph S. Davidson

                                                     Joseph S. Davidson
                                                     SULAIMAN LAW GROUP, LTD.
                                                     2500 South Highland Avenue
                                                     Suite 200
                                                     Lombard, Illinois 60148
                                                     +1 630-581-5450
                                                     jdavidson@sulaimanlaw.com
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                                CERTIFICATE OF SERVICE

I, Joseph S. Davidson, certify that I caused a copy of this notice and Motion to be served, via
electronic case filing to Marilyn O. Marshall, Chapter 13 Trustee and via United States First Class
Mail® to each entity listed on service list affixed, on July 1, 2020 before the hour of 5:00 p.m.
from the office located at 2500 South Highland Avenue, Suite 200, Lombard, Illinois.

                                                     /s/ Joseph S. Davidson
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Label Matrix for local noticing                    Consumer Portfolio Services
                                                        Document           Page 3 of 8           PRA Receivables Management, LLC
0752-1                                             P.O. Box 57071                                PO Box 41021
Case 19-02618                                      Irvine, CA 92619-7071                         Norfolk, VA 23541-1021
Northern District of Illinois
Eastern Division
Wed Jul 1 14:14:38 CDT 2020
Quantum3 Group LLC as agent for                    U.S. Bankruptcy Court                         Bank of Missorui
Sadino Funding LLC                                 Eastern Division                              2700 S Lorraine Place
PO Box 788                                         219 S Dearborn                                Sioux Falls, SD 57106-3657
Kirkland, WA 98083-0788                            7th Floor
                                                   Chicago, IL 60604-1702

CEP AMERICA ILLINOIS LLP                           Capital One, N.A.                             City Of Chicago Department of Finance
WAKEFIELD AND ASSOCIATES                           c/o Becket and Lee LLP                        C/O Arnold Scott Harris P.C.
PO BOX 50250                                       PO Box 3001                                   111 W Jackson Blvd Suite 600
KNOXVILLE,TN 37950-0250                            Malvern PA 19355-0701                         Chicago, IL 60604-3517


City of Chicago Department                         City of Chicago Dept of Finance               Comenity Capital/mprc
Of Administrative Hearing                          Po Box 88292                                  Attn: Bankruptcy Dept.
City of Chicago - DOAH C/O Arnold Scott            Chicago, IL 60680-1292                        Po Box 182125
111 W. Jackson Ste 600                                                                           Columbus, OH 43218-2125
Chicago, IL 60604-3517

Comenity Capital/mprc                              Consumer Portfolio Svc                        Consumer Portfolio Svc
Po Box 182120                                      19500 Jamboree Rd.                            Attn: Bankruptcy
Columbus, OH 43218-2120                            Irvine, CA 92612-2411                         Po Box 57071
                                                                                                 Irvine, CA 92619-7071


(p)CONTINENTAL FINANCE COMPANY LLC                 Convergent Outsourcing, Inc.                  Convergent Outsourcing, Inc.
PO BOX 8099                                        800 SW 39th St.                               Attn: Bankruptcy
NEWARK DE 19714-8099                               Renton, WA 98057-4927                         Po Box 9004
                                                                                                 Renton, WA 98057-9004


Credit One Bank                                    Credit One Bank                               Fingerhut
Attn: Bankruptcy                                   Po Box 98872                                  6250 Ridgewood Rd.
Po Box 98873                                       Las Vegas, NV 89193-8872                      Saint Cloud, MN 56303-0820
Las Vegas, NV 89193-8873


Fingerhut                                          Fingerhut                                     First Premier Bank
Attn: Bankruptcy                                   Attn: Bankruptcy                              3820 N. Louise Ave.
6250 Ridgewood Rd.                                 Po Box 1250                                   Sioux Falls, SD 57107-0145
Saint Cloud, MN 56303-0820                         Saint Cloud, MN 56395-1250


First Premier Bank                                 Genesis Bc/Celtic Bank                        Genesis Bc/celtic Bank
Attn: Bankruptcy                                   Attn: Bankruptcy                              Po Box 4499
Po Box 5524                                        268 S. State St., Ste. 300                    Beaverton, OR 97076-4499
Sioux Falls, SD 57117-5524                         Salt Lake City, UT 84111-5314


HYUNDAI CAPITAL AMERICA DBA                        (p)HYUNDAI MOTOR FINANCE COMPANY              Hyundai Motor Finance
HYUNDAI MOTOR FINANCE                              PO BOX 20809                                  Attn: Bankruptcy
PO BOX 20809                                       FOUNTAIN VALLEY CA 92728-0809                 Po Box 20829
FOUNTAIN VALLEY, CA 92728-0809                                                                   Fountain City, CA 92728-0829
                  Case 19-02618          Doc 39     Filed 07/01/20         Entered 07/01/20 17:07:47     Desc Main
(p)JEFFERSON CAPITAL SYSTEMS LLC                  Jefferson Capital Systems,
                                                       Document              LLC 4 of 8
                                                                          Page                Kohls/Capital One
PO BOX 7999                                       Po Box 1999                                 Kohls Credit
SAINT CLOUD MN 56302-7999                         Saint Cloud, MN 56302                       Po Box 3120
                                                                                              Milwaukee, WI 53201-3120


Kohls/Capital One                                 LVNV Funding, LLC                           MERRICK BANK
N56 W 17000 Ridgewood Dr.                         Resurgent Capital Services                  Resurgent Capital Services
Menomonee Falls, WI 53051-5660                    PO Box 10587                                PO Box 10368
                                                  Greenville, SC 29603-0587                   Greenville, SC 29603-0368


Merrick Bank/CardWorks                            Merrick Bank/CardWorks                      MidAmerica Bank & Trust Company
10705 S. Jordan Gateway                           Attn: Bankruptcy                            5109 S, Broadband Ln.
South Jordan, UT 84095-3977                       Po Box 9201                                 Sioux Falls, SD 57108-2208
                                                  Old Bethpage, NY 11804-9001


MidAmerica Bank & Trust Company                   Portfolio Recovery                          (p)PORTFOLIO RECOVERY ASSOCIATES LLC
Attn: Bankruptcy                                  Po Box 41021                                PO BOX 41067
Po Box 400                                        Norfolk, VA 23541-1021                      NORFOLK VA 23541-1067
Dixon, MO 65459-0400


Premier Bankcard, Llc                             Quantum3 Group LLC as agent for             Quantum3 Group LLC as agent for
Jefferson Capital Systems LLC Assignee            Bluestem and SCUSA                          Comenity Bank
Po Box 7999                                       PO Box 788                                  PO Box 788
Saint Cloud Mn 56302-7999                         Kirkland, WA 98083-0788                     Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for                   Quantum3 Group LLC as agent for             State Collection Service
Comenity Capital Bank                             GPCC I LLC                                  Attn: Bankruptcy
PO Box 788                                        PO Box 788                                  Po Box 6250
Kirkland, WA 98083-0788                           Kirkland, WA 98083-0788                     Madison, WI 53716-0250


State Collection Service                          Synchrony Bank                              Synchrony Bank/Walmart
Po Box 6250                                       c/o PRA Receivables Management, LLC         Attn: Bankruptcy Dept.
Madison, WI 53716-0250                            PO Box 41021                                Po Box 965060
                                                  Norfolk, VA 23541-1021                      Orlando, FL 32896-5060


Synchrony Bank/Walmart                            TD Bank USA, N.A.                           Target
Po Box 965024                                     C O WEINSTEIN & RILEY, PS                   Po Box 673
Orlando, FL 32896-5024                            2001 WESTERN AVENUE, STE 400                Minneapolis, MN 55440-0673
                                                  SEATTLE, WA 98121-3132


Target                                            Verizon                                     Cynthia Perales
Target Card Services                              by American InfoSource as agent             4458 S. Sawyer Ave.
Mail Stop NCB-0461                                4515 N Santa Fe Ave                         Chicago, IL 60632-2819
Minneapolis, MN 55440                             Oklahoma City, OK 73118-7901


Joseph S Davidson                                 Luis Perales                                Marilyn O Marshall
Sulaiman Law Group, Ltd.                          4458 S. Sawyer Ave.                         224 South Michigan Ste 800
2500 S. Highland Ave                              Chicago, IL 60632-2819                      Chicago, IL 60604-2503
Suite 200
Lombard, IL 60148-7103
                  Case 19-02618           Doc 39       Filed 07/01/20 Entered 07/01/20 17:07:47                      Desc Main
Patrick S Layng                                          Document     Page 5 of 8
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Continental Finance Company                          (d)Continental Finance Company                       Hyundai Motor Finance
Attn: Bankruptcy                                     Po Box 8099                                          10550 Talbert Ave.
Po Box 8099                                          Newark, DE 19714                                     Fountain Valley, CA 92708
Newark, DE 19714


Jefferson Capital Systems LLC                        (d)Jefferson Capital Systems, LLC                    Portfolio Recovery Associates, LLC
Po Box 7999                                          16 Mcleland Rd                                       c/o Carsons
Saint Cloud Mn 56302-9617                            Saint Cloud, MN 56303                                POB 41067
                                                                                                          Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Comenity Capital/mprc                             (d)MidAmerica Bank & Trust Company                   (d)Quantum3 Group LLC as agent for
Attn: Bankruptcy Dept.                               5109 S. Broadband Ln.                                Sadino Funding LLC
Po Box 182125                                        Sioux Falls, SD 57108-2208                           PO Box 788
Columbus, OH 43218-2125                                                                                   Kirkland, WA 98083-0788


End of Label Matrix
Mailable recipients    60
Bypassed recipients     3
Total                  63
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In Re:
                                                                  Case No. 1:19-bk-02618

 LUIS PERALES and CYNTHA
                                                                  Chapter 13
 PERALES

                                                                  Honorable Timothy A. Barnes
                                         Debtor(s)

               MOTION TO AUTHORIZE RELEASE OF INSURANCE PROCEEDS

          NOW COME, LUIS PERALES and CYNTHA PERALES (the "Debtors"), through

undersigned counsel, requesting entry of an order authorizing release of insurance proceeds. In

support thereof, Debtors assert as follows:

          1.      On January 31, 2019, Debtor filed a voluntary petition for relief under Chapter 13,

Title 11, United States Code (the “Bankruptcy Code”). Dkt. #1.

          2.      Debtor's Modified Chapter 13 Plan, dated May 7, 2019, was confirmed on May 9,

2019 (the “Confirmed Plan”).

          3.      The Confirmed Plan provides:

                  3.3      Secured claims excluded from 11 U.S.C. § 506.

                  These claims will be paid in full under the plan with interest at the rate stated below. These
                  payments will be disbursed either by the trustee or directly by the debtor(s), as specified
                  below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim
                  filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary
                  amount listed below. In the absence of a contrary timely filed proof of claim, the amounts
                  stated below are controlling. The final column includes only payments disbursed by the
                  trustee rather than by the debtor(s).
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 Name of Creditor         Collateral                Amount of claims   Interest rate     Monthly plan       Estimated total
                                                                                         payment            payments by trustee
                          2017 Hyundai Tuscon
                          Value Sport Utility 4D
                          25,000 miles
                          Value according to
                          www.kbb.com,
 Consumer                 Private Party Value
 Portfolio Svc            (Good Condition)          $19,884.44         7.50%             $618.53            $22,423.57
                                                                                         Disbursed by:
                                                                                         ■ Trustee
                                                                                         □ Debtor(s)


                    5.1          Nonpriority unsecured claims not separately classified.

                                 Allowed nonpriority unsecured claims that are not separately classified will be
                                 paid, pro rata. If more than one option is checked, the option providing the largest
                                 payment will be effective. Check all that apply.

                    □            The sum of $         .

                    ■            100.00% of the total amount of these claims, an estimated payment of $43,026.72.

                    ■            The funds remaining after disbursements have been made to all other creditors
                                 provided for in this plan.

           4.       On April 11, 2020, Debtors' 2017 Hyundai Tuscon was involved in an automobile

fire and was determined to be a total loss.

           5.       The current pay-off amount prior to any insurance funds being applied towards the

account is $10,997.80 until October 22, 2020.

           6.       Debtors' 2017 Hyundai Tuscon is insured through Allstate Insurance Company,

who has authorized settlement of $14,846.00. See Exhibit A.

           7.       Allstate Insurance Company will be issuing payment in amount of $10,997.80 to

Consumer Portfolio Services.

           8.       Accordingly, Debtors are seeking Court approval for (1) Allstate Insurance

Company to release $10,997.80 to Consumer Portfolio Services to pay off Debtors' vehicle loan;

and (2) for Allstate Insurance Company to release $3,848.20 directly to Debtors to help them

obtain replacement transportation.
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     WHEREFORE, the Debtor respectfully requests the following:

     A.    an order authorizing Allstate Insurance Company to release $10,997.80 in

           insurance proceeds to Consumer Portfolio Services to pay off Debtors' vehicle loan;

     B.    an order authorizing Allstate Insurance Company to release $3,848.20 directly to

           Debtors to help them obtain replacement transportation; and

     C.    such other relief as the Court deems just and proper.

DATED: July 1, 2020                           Respectfully submitted,

                                              LUIS PERALES and CYNTHA PERALES

                                              By: /s/ Joseph S. Davidson

                                              Joseph S. Davidson
                                              SULAIMAN LAW GROUP, LTD.
                                              2500 South Highland Avenue
                                              Suite 200
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                                              +1 630-581-5450
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